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 9                         IN THE UNITED STATES DISTRICT COURT
10                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                SAN FRANCISCO DIVISION
12

13     UNITED STATES OF AMERICA,               Case No.: CR 20-0117 CRB
14                   Plaintiff,                DEFENDANT’S SENTENCING
                                               MEMORANDUM
15            v.
                                               Court:         Hon. Charles Breyer
16     DANIEL VARELACRUZ,
                                               Date:          June 3, 2020
17                   Defendant.
                                               Time:          1:30 p.m.
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             Case 3:20-cr-00117-CRB Document 13 Filed 05/27/20 Page 2 of 2



 1                                            ARGUMENT
 2          Defendant Daniel Varela Cruz has pleaded guilty to selling $40 worth of
 3   methamphetamine. The resulting Total Offense Level is 10, and with Criminal History
 4   Category II, the applicable advisory guideline range is 8 to 14 months. The Rule 11(c)(1)(B)
 5   plea agreement stipulates that both parties will recommend a sentence of five months
 6   imprisonment. The parties have also waived a Presentence Report in lieu of providing the
 7   Court with sufficient sentencing information under 18 U.S.C. § 3553. F.R.Cr.P. 32(c)(1)(A)(ii).
 8          Mr. Varela Cruz was born in a small village in Honduras, near the capitol of
 9   Tegucigalpa. Mr. Varela Cruz was raised by his maternal grandparents. He never knew his
10   father and his mother abandoned him when he was just one year old when she ran off with
11   another man. Mr. Varela Cruz attended school until age 13, when he had to drop out to work
12   full-time in the fields to support his family, as his grandfather was always drunk.
13          Mr. Varela Cruz first came to the United States at age 17. He fled Honduras to escape
14   the gangs there who threatened to kill any young men they could not recruit. Here, Mr. Varela
15   Cruz worked various construction jobs to send money home to his grandparents.
16   Unfortunately, while working in this country, Mr. Varela Cruz developed a drug habit. As a
17   result, he was soon selling drugs to support his addiction.
18          Since his initial appearance in the instant case, Mr. Varela Cruz has been incarcerated at
19   the Santa Rita Jail, where the COVID-19 pandemic has wreaked havoc. It is expected that Mr.
20   Varela Cruz will be deported upon his release. Mr. Varela Cruz respectfully requests that the
21   Court take all these facts into account in determining what sentence to impose.
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23                                                        Respectfully submitted,

24            Dated: May 27, 2020                         STEVEN KALAR
                                                          Federal Public Defender
25                                                        Northern District of California
26                                                                  /S
                                                          DANIEL P. BLANK
27
                                                          Assistant Federal Public Defender
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